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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
                                                                       *    fJ,6V ~1 2012        *
                                                                       BROOKLYN OFFICE
 IN RE PAYMENT CARD                                  No. OS-MD-1720 (JG) (JO)
 INTERCHANGE FEE AND MERCHANT
 DISCOUNT ANTITRUST LITIGATION

 This Document Applies to: All Cases.


              CLASS SETTLEMENT PRELIMINARY APPROVAL ORDER

       WHEREAS, the Court has considered the Definitive Class Settlement Agreement,

including its Appendices, fully executed as of October 19, 2012 (the "Class Settlement

Agreement") among the Class Plaintiffs and the Defendants, which sets forth the terms and

conditions for a proposed settlement of the Class Actions in MOL 1720, and the termination and

disposition of all causes of action against the Defendants in those Class Actions with prejudice;

       WHEREAS, the Court has considered the motion of Class Plaintiffs for preliminary

approval of the Class Settlement Agreement, the Memorandum of Law and evidence filed in

support thereof, the objections to preliminary approval of the Class Settlement Agreement and all

evidence filed in support of such objections, and all other papers submitted in connection with

the Class Settlement Agreement; and

       WHEREAS, the Court held a hearing on November 9, 2012, at which the Court heard

argument on whether the Class Settlement Agreement should be preliminarily approved;

       NOW, THEREFORE, IT IS HEREBY ORDERED AND DECREED as follows:

       I.      This Class Settlement Preliminary Approval Order incorporates by reference the

definitions in the Class Settlement Agreement, and all terms herein shall have the same meanings

as set forth in the Class Settlement Agreement.
       2.       The Court has subject matter and personal jurisdiction over the Class Plaintiffs,

all members of the settlement classes provisionally certified below, and the Defendants.

       3.      The Court preliminarily approves the Class Settlement Agreement, including

specifically the Plan of Administration and Distribution contained in Appendix I of the Class

Settlement Agreement, as within the range of a fair, reasonable, and adequate settlement within

the meaning of Federal Rule of Civil Procedure 23 and applicable law, and consistent with due

process.

       4.      The Court orders Class Counsel, the Visa Defendants, and the MasterCard

Defendants to establish and maintain the Class Settlement Cash Escrow Account(s) and the Class

Settlement Interchange Escrow Account(s) as provided in Paragraphs 6-8 of the Class Settlement

Agreement, the Class Settlement Cash Escrow Agreement in Appendix B to the Class Settlement

Agreement, and the Class Settlement Interchange Escrow Agreement in Appendix C to the Class

Settlement Agreement.

       5.       Based on and pursuant to the class action criteria of Federal Rules of Civil

Procedure 23(a) and 23(b)(3), the Court provisionally certifies, for settlement purposes only, a

Rule 23(b)(3) Settlement Class, from which exclusions shall be permitted, consisting of all

persons, businesses, and other entities that have accepted Visa-Branded Cards and/or

MasterCard-Branded Cards in the United States at any time from January I, 2004 to the

Settlement Preliminary Approval Date, except that this Class does not include the named

Defendants, their directors, officers, or members of their families, financial institutions that have

issued Visa- or MasterCard-Branded Cards or acquired Visa- or MasterCard-Branded Card

transactions at any time from January 1,2004 to the Settlement Preliminary Approval Date, or

the United States government.


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         6.     Based on and pursuant to the class action criteria of Federal Rules of Civil

Procedure 23(a) and 23(b)(2), the Court provisionally certifies, for settlement purposes only, a

Rule 23(b)(2) Settlement Class, from which exclusions shall not be permitted, consisting of all

persons, businesses, and other entities that as of the Settlement Preliminary Approval Date or in

the future accept any Visa-Branded Cards and/or MasterCard-Branded Cards in the United

States, except that this Class shall not include the named Defendants, their directors, officers, or

members of their families, financial institutions that have issued Visa- or MasterCard-Branded

Cards or acquired Visa- or MasterCard-Branded Card transactions at any time since January 1,

2004, or do so in the future, or the United States government.

        7.     The definitions of the proposed classes in the Operative Class Complaints are

hereby amended to be the same as the settlement classes provisionally certified above.

        8.     In the event oftermination of the Class Settlement Agreement as provided

therein, certification of the Rule 23(b)(3) Settlement Class and the Rule 23(b)(2) Settlement

Class shall automatically be vacated and each Defendant may fully contest certification of any

class as ifno Rule 23(b)(3) Settlement Class or Rule 23(b)(2) Settlement Class had been

certified.

        9.     The Court finds and concludes that the Class Plaintiffs will fairly and adequately

represent and protect the interests of the Rule 23(b )(3) Settlement Class and the Rule 23 (b )(2)

Settlement Class, and appoints them to serve as the representatives of those Settlement Classes.

Based on and pursuant to the criteria of Federal Rule of Civil Procedure 23(g), the Court

appoints the law firms of Robins, Kaplan, Miller & Ciresi L.L.P., Berger & Montague, P.C., and

Robbins Geller Rudman & Dowd LLP to serve as Class Counsel.




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         10.    The notice requirements of the Class Action Fairness Act, 28 U.S.C. § 1715, have

been met.

         11.    The Court appoints Epiq Systems, Inc. as the Class Administrator to assist Class

Counsel in effectuating and administering the Notice Plan delineated in Appendix E to the Class

Settlement Agreement and the exclusion process for Opt Outs, in analyzing and evaluating the

amount of the Class Exclusion Takedown Payments and the Default Interchange Payments, and

in effectuating and administering the claims process for members of the Rule 23(b)(3) Settlement

Class.

         12.   The Court determines that notice should be provided to members of the Rule

23(b)(3) Settlement Class and the Rule 23(b)(2) Settlement Class, but that exclusion rights

should be afforded only to members of the Rule 23(b)(3) Settlement Class as to their

participation in the Rule 23(b)(3) Settlement Class.

         13.   The Court approves the method of notice to be provided to the Rule 23(b)(3)

Settlement Class and the Rule 23(b )(2) Settlement Class that is described in the Class Settlement

Agreement and in the Notice Plan contained in Appendix E to the Class Settlement Agreement,

including use of the long-form website and mail notice and the publication notice contained in

Appendix F to the Class Settlement Agreement. The Court finds and concludes that such notice:

(a) is the best notice that is practicable under the circumstances, and is reasonably calculated to

reach the members of the Rule 23(b)(3) Settlement Class and Rule 23(b)(2) Settlement Class that

would be bound by the Class Settlement Agreement and to apprise them of the Action, the terms

and conditions of the Class Settlement Agreement, their right to opt out and be excluded from

the Rule 23(b)(3) Settlement Class, and to object to the Class Settlement Agreement; and (b)

meets the requirements of Federal Rule of Civil Procedure 23 and due process.


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        14.     Consistent with the Notice Plan, the Court directs the Class Administrator. as

soon as practicable following the Court's entry of this Class Settlement Preliminary Approval

Order, but before commencement of the mail and publication notice, to establish the dedicated

Case Website, post office box, and toll-free telephone line for providing notice and information

to members of the Rule 23(b)(3) Settlement Class and the Rule 23(b)(2) Settlement Class, and

receiving exclusion requests from members of the Rule 23(b)(3) Settlement Class.

        15.    Within ninety days following the Court's entry of this Class Settlement

Preliminary Approval Order, the Class Administrator shaH complete the mail and publication

notice to members of the Rule 23(b)(3) Settlement Class and the Rule 23(b)(2) Settlement Class

that is described in the Notice Plan, using the long form mail notice and the publication notice

contained in Appendix F to the Class Settlement Agreement.

       16.     As explained in the long-form notice and publication notice, any member of the

Rule 23(b)(3) Settlement Class that does not wish to participate in the Rule 23(b)(3) Settlement

Class shall have until one hundred eighty days after the Court's entry of this Class Settlement

Preliminary Approval Order- i.e., ninety days after the last date for completion of the mail and

publication notice (the "Class Exclusion Period")- to submit a request to become an Opt Out

and be excluded from the Rule 23(b)(3) Settlement Class.

       17.     A member of the Rule 23(b)(3) Settlement Class may effect such an exclusion by

sending a written request to the Class Administrator, by first-class mail with postage prepaid and

postmarked within the Class Exclusion Period. The written request must be signed by a person

authorized to do so, and provide all of the following information:

               (a)       The words "In re Payment Card Interchange Fee and Merchant Discount

Antitrust Litigation."


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                (b)     A statement of the Rule 23(b)(3) Settlement Class member's full name,

address, telephone number, and taxpayer identification number.

                (c)     A statement that the Rule 23(b)(3) Settlement Class member desires to be

excluded from the Rule 23(b)(3) Settlement Class, and by what position or authority he or she has

the power to exclude the member from the Rule 23(b)(3) Settlement Class.

                (d)     The business names, brand names, and addresses of any stores or sales

locations whose sales the Rule 23(b)(3) Settlement Class member desires to be excluded from the

Rule 23(b)(3) Settlement Class.

        18.     As also explained in the long-form notice and publication notice, any Rule

23(b)(3) Settlement Class member that does not submit a request for exclusion, or any Rule

23(b)(2) Settlement Class member, shall have until one hundred eighty days after the Court's

entry of the Class Settlement Preliminary Approval Order- i.e., ninety days after the last date

for completion of the mail and publication notice (the "Class Objection Period")-- to submit an

objection to the Class Settlement Agreement, any request for Attorneys' Fee Awards, any

request for Expense Awards, or any request for Class Plaintiffs' Awards (be an "Objector"), and

to file any notice to appear.

        19.    Such an Objector must file a written statement of objections with the Court within

the Class Objection Period, and send it to the following designees of Class Counsel and counsel

for the Defendants, by first-class mail and postmarked within the Class Objection Period:

        Designee of Class Counsel: Alexandra S. Bernay, Robbins Geller Rudman &
        Dowd LLP, 655 West Broadway, Suite 1900, San Diego, California 92101-3301.

       Designee of Defendants: Wesley R. Powell, Willkie Farr & Gallagher LLP, 787
       Seventh Avenue, New York, NY 10019.

       20.     The Objector's written statement of objections must: (a) contain the words "In re

Interchange Fee and Merchant Discount Antitrust Litigation"; (b) state each and every objection
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of the Objector and the specific reasons therefor; (c) provide alllega] support and all evidence

that the Objector wishes to bring to the Court's attention in support of any objection; (d) state the

full name and address and telephone number of the Objector; (e) provide information sufficient

to establish that the Objector is a member of the Rule 23(b)(3) Settlement Class and/or the Rule

23(b)(2) Settlement Class; and (f) state the full name, mail address, email address, and telephone

number of any counsel representing the Objector in connection with the objections.

       21.     In addition, any Objector or counsel for an Objector that desires to appear at the

final approval hearing must file with the Court within the Class Objection Period, and send to the

designees of Class Counsel and the Defendants identilied above, by first class mail and

postmarked within the Class Objection Period, a separate notice of intention to appear that

identifies by name, position, address, and telephone number each person who intends to appear

at the final approval hearing on behalf of the Objector.

       22.     Prior to forty five days before the end of the Class Exclusion Period and Class

Objection Period -   i.e., within one hundred thirty five days after the Court's entry of this Class

Settlement Preliminary Approval Order -     Class Counsel will file all motion and supporting

papers seeking the Court's final approval of the Class Settlement Agreement, and the Court's

approval of any Attorneys' Fee Awards, Expense Awards, or Class Plaintiffs' Awards with

respect to any Class Action in MDL 1720. Class Counsel will also file any additional details

regarding the Plan of Administration and Distribution, after timely and regular consultation with

the Defendants and subject to the Court's approval, prior to forty-five days before the end of the

Class Exclusion Period and Class Objection Period. Class counsel will provide notice of such

motions and any additional details to members of the Rule 23(b)(3) Settlement Class and to

members of the Rule 23(b)(2) Settlement Class by causing all such motions and supporting


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papers, and any additional details regarding the Plan of Administration and Distribution, to be

posted prominently on the Case Website prior to, or simultaneously with, their filing with the

Court.

         23.    Within one hundred ninety-five days after the Court's entry of the Class

Settlement Preliminary Approval Order- i.e., within fifteen days after the conclusion of the

Class Exclusion Period -   the Class Administrator shall prepare a report, and file it with the

Court and provide it to the following designees of Class Counsel, the Visa Defendants, the

MasterCard Defendants, and the Bank Defendants:

         Designee of Class Counsel: Alexandra S. Bemay, Robbins Geller Rudman &
         Dowd LLP, 655 West Broadway, Suite 1900, San Diego, California 92101-3301.

         Designee of Visa Defendants: Matthew A. Eisenstein, Arnold & Porter LLP, 555
         Twelfth Street, NW, Washington, DC 20004.

         Designee of MasterCard Defendants: Wesley R. Powell, Willkie Farr &
         Gallagher LLP, 787 Seventh Avenue, New York, NY 10019.

         Designee of Bank Defendants: Peter E. Greene, Skadden, Arps, Slate, Meagher
         & Flom LLP, Four Times Square, New York, NY 10036.

         24.   The Class Administrator's report shall:

               (a)     Confirm that the Notice Plan was carried out and that the website notice,

mail notice, publication notice, and any other notice to members of the Rule 23(b)(3) Settlement

Class and the Rule 23(b)(2) Settlement Class was provided in the manner directed by the Court.

               (b)     Identify the date when the Case Website was fully established and its

content made available to the members of the Rule 23(b)(3) Settlement Class and the Rule

23(b )(2) Settlement Class, the date or dates on which mail notices were mailed, the dates of the

publication notices, and the date or dates of any other notice directed by the Court.

               (c)     List each member of the Rule 23(b)(3) Settlement Class that sought to

become an Opt Out and be excluded from the Rule 23(b)(3) Settlement Class, and on what date

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the request to be excluded was postmarked and received, and state whether the Rule 23(b)(3)

Settlement Class member's request for exclusion was timely and properly made.

               (d)     Attach a copy of all documentation concerning each request for exclusion

that the Class Administrator received, with any taxpayer identification number, or other

confidential information filed under seal with the Court.

       25.     As provided in the Class Settlement Agreement, within approximately two

hundred forty days after the Court's entry of the Class Settlement Preliminary Approval Order.

in the event that the Class Plaintiffs and the Defendants have not resolved all differences

regarding the amount of the Class Exclusion Takedown Payments to be made to the Visa

Defendants and the MasterCard Defendants, they shall submit their dispute to the Court for

resolution in connection with the final approval hearing, so that the Court's Class Settlement

Order and Final Judgment may identify each Opt Out and state the Class Exclusion Takedown

Payments to be made, respectively, to the Visa Defendants and to the MasterCard Defendants

from the Class Settlement Cash Escrow Account(s) as provided in the Class Settlement

Agreement.

       26.     The Class Administrator's expenses for the foregoing notice and exclusion

activities, including those of any third-party vendors it uses to perform tasks necessary for the

implementation or effectuation of its duties, shall be paid from the Class Settlement Cash Escrow

Account(s). In no event shall any Defendant, Rule 23(b)(3) Settlement Class Released Party, or

Rule 23(b)(2) Settlement Class Released Party have any obligation, responsibility, or liability

with respect to the Class Administrator, the Notice Plan, or the exclusion procedures for

members of the Rule 23(b)(3) Settlement Class, including with respect to the costs,

administration expenses, or any other charges for any notice and exclusion procedures.


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         27.    The Court will hold a final approval hearing at least two hundred eighty five days

after the Court's entry of this Class Settlement Preliminary Approval Order, at 10 o'clock on

;;,f......Ix.'I- I~ 2013, at the Courthouse for the United States District Court for the Eastern District
of New York, 225 Cadman Plaza East, Brooklyn, NY 11201. At that final approval hearing, the

Court will conduct an inquiry as it deems appropriate into the fairness, reasonableness, and

adequacy of the Class Settlement Agreement, address any objections to it, and determine

whether the Class Settlement Agreement and the Plan of Administration and Distribution should

be finally approved, whether final judgment should be entered thereon, and whether to approve

any motions for Attorneys' Fee Awards, Expense Awards, and Class Plaintiffs' Awards.

        28.     The Court stays all further proceedings in this Action as between the Class

Plaintiffs or any other plaintiff in a putative class action consolidated in MDL 1720, and the

Defendants or any other defendant in a putative class action consolidated in MDL 1720, except

for proceedings in MDL 1720 related to effectuating and complying with the Class Settlement

Agreement, pending the Court's determination of whether the Class Settlement Agreement

should be finally approved or the termination of the Class Settlement Agreement.

        29.     The Court enjoins the members of the Rule 23(b)(3) Settlement Class and the Rule

23(b)(2) Settlement Class, pending the Court's determination of whether the Class Settlement

Agreement should finally be approved or the termination of the Class Settlement Agreement, from

challenging in any action or proceeding any matter covered by this Class Settlement Agreement or

its release and covenant not to sue provisions, except for (a) proceedings in MDL 1720 related to

effectuating and complying with the Class Settlement Agreement; and (b) any Opt Out's claims for

damages based on any conduct, acts, transactions, events, occurrences, statements, omissions, or




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failures to act of any Rule 23(b)(3) Settlement Class Released Party prior to the date of the Court's

entry of this Class Settlement Preliminary Approval Order.

IT IS SO ORDERED.
                                                 s/John Gleeson
DATED: __~N~D~V~~~~)~7~!~~_/~~__
                                                                LE JOHN GLEESON
                                                                S DISTRICT JUDGE




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